 Case 1:23-cv-01102-RJJ-PJG ECF No. 6, PageID.521 Filed 10/17/23 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                      IN THE WESTERN DISTRICT OF MICHIGAN


BRENDA TRACY, LLC, SET THE EXPECTATION,
A NON-PROFIT ORGANIZATION; JANE DOE 1;
JANE DOE 2; JANE DOES YET TO BE IDENTIFIED,
      Plaintiffs,
                                           Case No. 23-cv-1102
                                           Hon. Robert J. Jonker
                                           Removed from the 30th Judicial Circuit
                                           Court, Ingham County
v.                                         (Case No. 23-0671-CZ)


AGUSTIN ALVARADO; MEL TUCKER; JENNIFER Z. BELVEAL;
JOHN DOE(S) AND JANE DOE(S) IN POSSESSION OF RECORDS
WHOSE NAMES ARE KNOWN ONLY TO DEFENDANTS; FOLEY &
LARDNER, LLP,


      Defendants.


                    *** EXPEDITED CONSIDERATION REQUESTED***

Eric D. Delaporte (P69673)                        Jennifer Z. Belveal (P54740)
Gina Goldfaden (P86863)                           John F. Birmingham, Jr. (P47150)
DELAPORTE LYNCH, PLLC                             FOLEY & LARDNER, LLP
Attorneys for Plaintiff                           Attorneys for Defendants
210 State St., Suite B                            500 Woodward Ave., Ste. 2700
Mason, MI 48854                                   Detroit, MI 48226-3489
(517) 999-2626                                    (313) 234-7176




                       ORDER FOR REMAND TO STATE COURT




                                       1
 Case 1:23-cv-01102-RJJ-PJG ECF No. 6, PageID.522 Filed 10/17/23 Page 2 of 2




                      At a session of Court held on the date set forth below.

                                 Present: Hon. Robert J. Jonker

                                   Federal District Court Judge

         This matter comes before the Court upon Plaintiffs’ Motion for Remand to State Court,

and the Court having been fully advised in the premises and finding that the matter no longer

involves a federal question,

         NOW THEREFORE, Plaintiffs’ Motion for Leave to Amend Complaint is GRANTED.



Dated:                                               ________________________
                                                     Hon. Robert J. Jonker




Order Prepared By:

Eric D. Delaporte (P69673)
Attorney for Plaintiff




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